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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                           Chapter 11
                                       1
    Lordstown Motors Corp, et al.,
                                                           Case No. 23-10831 (MFW)
                            Debtors.
                                                           (Jointly Administered)

                                                           Re: Docket No. 182

         NOTICE OF FILING OF DEBTORS’ SECOND QUARTERLY STATEMENT
              REGARDING PAYMENTS MADE TO ORDINARY COURSE
          PROFESSIONALS FOR SERVICES RENDERED DURING THE PERIOD
                 OCTOBER 1, 2023 THROUGH DECEMBER 31, 2023

             PLEASE TAKE NOTICE that on July 13, 2023, the above-captioned debtors in

possession (collectively, the “Debtors”) filed the Motion of Debtors for Entry of Order

(I) Authorizing Debtors to Employ Professionals Utilized in the Ordinary Course of Business and

(II) Granting Related Relief [D.I. 110] (the “Motion”) with the United States Bankruptcy Court

for the District Court of Delaware (the “Bankruptcy Court”). Pursuant to the Motion, the Debtors

sought entry of an order authorizing the Debtors to retain and compensate certain professionals

utilized in the ordinary course of the Debtors’ business (the “Ordinary Course Professionals”).

             PLEASE TAKE FURTHER NOTICE that on July 25, 2023, the Bankruptcy Court

entered the Order (I) Authorizing Debtors to Employ Professionals Utilized in the Ordinary

Course of Business and (II) Granting Related Relief [D.I. 182] (the “Order”) granting the relief

requested in the Motion. Pursuant to the Order, the Debtors are authorized, but not required, to

retain and pay certain Ordinary Course Professionals.




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 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 2(i) of the Order, the

Debtors hereby submit the report attached hereto as Exhibit A (the “Second Quarterly Statement”)

which contains the following information: (i) the name of each Ordinary Course Professional;

(ii) the aggregate amounts paid as compensation for services rendered and reimbursement of

expenses incurred by each Ordinary Course Professional on a monthly basis during the period of

October 1, 2023 through December 31, 2023 (the “Quarter”); and (iii) the aggregate amount of

postpetition payments made to each Ordinary Course Professional through the end of the Quarter.

The Debtors will serve a copy of this Notice, including the Second Quarterly Statement, on the

Reviewing Parties (as defined in the Order).

       PLEASE TAKE FURTHER NOTICE that the Debtors may pay for services rendered

and expenses incurred by any Ordinary Course Professional during the Quarter at a later date, and

any such payments will be disclosed in future reports.

Dated: January 9, 2024
Wilmington, Delaware

Respectfully submitted,


 /s/ Morgan L. Patterson                            WHITE & CASE LLP
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